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20-06098
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                               Chapter 11

 Sears Holdings Corporation, et al.,                  Case No. 18-23538-RDD
                                                      (Jointly Administered)
                                         Debtors.

 Kmart Holding Corporation,
                                         Plaintiff,
                                                      Adv. Case No. 20-06625 -RDD
 v.

 A & GS Contractor Inc.
                                       Defendant.

                                   AFFIDAVIT OF SERVICE

I, David Kitto, depose and say that I am employed by Reliable Companies, provided noticing
services in the above-captioned case. At my direction and under my supervision, employees of
Reliable caused to be served the following documents;

         Summons and Notice of Pretrial Conference in an Adversary Proceeding issued in the
          above-captioned Adversary Case
         Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 547, 548, and 550
          and to Disallow Claims Pursuant to 11 U.S.C. § 502, asserted against the Defendant in
          the above-captioned Adversary Case
         Seventh Motion for Orders Establishing Streamlined Procedures Governing Adversary
          Proceedings Brought by the Debtors Pursuant to Sections 502, 547, 548 And 550 of the
          Bankruptcy Code [In re Sears Holding Corporation 18-23538 (RDD) Docket No. 9060]
by First Class Mail on November 2, 2020 addressed as follows:

A & GS Contractor Inc.                    A & GS Contractor Inc.               A & GS Contractor Inc.
C/O F Rosa Silvia CSP                     Carr. #1 Km 27.5 Bo. Rio             PO Box 56173
PO Box 9024063                            Cañas                                Bayamon PR 00960
San Juan PR 00902-4063                    Sector El Barranco
                                          Caguas PR 00725
A & GS Contractor Inc.
Road 1, Km 27.5 Interior
Rio Cañas Sector El
Barranco Caguas
Caguas PR 00725
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